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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION
                               CASE NO: 3:23-CR-14-DJH


UNITED STATES OF AMERICA                                                    PLAINTIFF


V.                                       ORDER


BRYAN DOUGLAS CONLEY                                                      DEFENDANT

                                         *****


       Motion having been made, and the Court having been duly advised,

       IT IS HEREBY ORDERED that Defendant Conley’s Motion to Sever Counts is

GRANTED. Counts 1 and 2 of the Indictment are hereby severed from Counts 3 through 15 of

the Indictment for purposes of trial.
